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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 22-cr-103 (RCL)
                                              :
JOHN LAMMONS,                                 :
                                              :
                       Defendant.             :


           GOVERNMENT’S NOTICE OF FILING OF EXHIBITS PURSUANT
            TO LOCAL CRIMINAL RULE 49 AND STANDING ORDER 21-28

       The United States hereby gives notice, pursuant to Local Criminal Rule 49 and Standing

Order 21-28, of the following exhibits are provided to the Court and counsel to be used by the

government in the sentencing in this matter. Exhibits 1-3, 5-7, are United States Capitol Police

surveillance footage (CCTV). Exhibits 4 and 8 were provided by the Defendant to the Federal

Bureau of Investigation. The United States does not object to releasing these exhibits to the public.

The exhibits are:

       1. Government Exhibit 1 is a video approximately 47 seconds in length that portrays the

           lobby area inside the Senate Wing Door.

       2. Government Exhibit 2 is a video approximately 7 minutes and 32 seconds in length that

           portrays the north end of the Crypt.

       3. Government Exhibit 3 is a video approximately 2 minutes and 13 seconds in length that

           portrays the south end of the Crypt.

       4. Government Exhibit 4 is a video approximately 14 seconds in length that depicts police

           officers confronting rioters within the Capitol Building.

       5. Government Exhibit 5 is a video approximately 4 minutes and 20 seconds in length that

           portrays the walkway to the Capitol Visitor Center.


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       6. Government Exhibit 6 is a video approximately 16 seconds in length that portrays the

           north end of the Crypt.

       7. Government Exhibit 7 is a video approximately 3 minutes and 4 seconds in length that

           portrays the lobby area inside the Senate Wing Door.

       8. Government Exhibit 8 is a video approximately 5 seconds in length that portrays the

           Defendant in front of a statue in the Crypt.

                                             Respectfully submitted,


                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052

                                             By:    /s/ Andrew Haag
                                             ANDREW S. HAAG
                                             Assistant United States Attorney
                                             MA Bar No. 705425
                                             601 D Street, N.W.
                                             Washington, DC 20530
                                             (202) 252-7755
                                             Andrew.Haag@usdoj.gov


                                CERTIFICATE OF SERVICE

       On this 30th day of January, 2023, a copy of the foregoing was served on counsel

of record for the defendant via the Court’s Electronic Filing System.


                                             By:    /s/ Andrew Haag
                                             ANDREW S. HAAG
                                             Assistant United States Attorney




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